859 F.2d 151Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph Ernest WASHINGTON, Plaintiff-Appellant,v.Thomas R. ISRAEL, Warden Department of Corrections,Defendant-Appellee.
    No. 87-7749.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 19, 1988.Decided Sept. 12, 1988.
    
      Joseph Ernest Washington, appellant pro se.
      Robert Harkness Herring, Jr., Office of Attorney General of Virginia, for appellee.
      Before DONALD RUSSELL, WIDENER, and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Joseph Ernest Washington appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Washington v. Israel, CA-86-666-N (E.D.Va. Oct. 20, 1987).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    